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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MINNESOTA



 SMARTMATIC USA CORP.,
 SMARTMATIC INTERNATIONAL
 HOLDING B.V., and SGO
 CORPORATION LIMITED,

                            Plaintiffs,
                     v.                         Case No. 22-cv-0098-JMB-JFD
 MICHAEL J. LINDELL and MY
 PILLOW, INC.,

                            Defendants.


                    STATEMENT INSTEAD OF REDACTION

      The following exhibits to the Declaration of Timothy M. Frey (ECF No. 457)

submitted in support of Plaintiffs’ Opposition to Defendants’ Motion for Summary

Judgment have been filed under seal in accordance with Local Rule 5.6(d) as follows:

 ECF No.    Exhibit No. Document Description                     Reason for Filing
                                                                 Under Seal
  457-42    171            October     11,    2023    Deposition Transcript
                           Transcript of Dennis Montgomery       designated
                                                                 “Confidential”
  457-48    177            August 2, 2023 Deposition Transcript Transcript
                           of Ret. Gen. Michael Flynn            designated
                                                                 “Confidential”
  457-51    180            August 9, 2024 Deposition Transcript Transcript
                           of Douglas Bania                      designated
                                                                 “Confidential”
 457-124    253            Declaration of Dr. John Berger        Declaration
                                                                 incorporating expert
                                                                 report designated
                                                                 “Confidential”



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457-125   254       Declaration of Dr. Kevin Keller         Declaration
                                                            incorporating expert
                                                            report designated
                                                            “Highly
                                                            Confidential       –
                                                            Attorneys’     Eyes
                                                            Only”
457-126   255       Declaration of Tammy Patrick            Declaration
                                                            incorporating expert
                                                            report designated
                                                            “Confidential”
457-127   256       September 28, 2023 Deposition           Transcript
                    Transcript of Antonio Mugica            designated
                                                            “Confidential”
457-128   257       September 27, 2023 Deposition           Transcript
                    Transcript of Antonio Mugica            designated
                                                            “Confidential”
457-170   264       August 12, 2024 Deposition of Dr.       Extensive
                    Christopher James                       discussion of expert
                                                            report designated
                                                            “Highly
                                                            Confidential       –
                                                            Attorneys’     Eyes
                                                            Only”
457-171   265       Expert Rebuttal Report of Christopher   Report is designated
                    James                                   “Highly
                                                            Confidential       –
                                                            Attorneys’     Eyes
                                                            Only”
457-172   266       September 13, 2023 Deposition           Transcript
                    Transcript of Roger Piñate              designated
                                                            “Confidential”




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Dated: December 13, 2024             Respectfully submitted,

                                     /s/ J. Erik Connolly
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